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                              UNITED STATES DISTRICT COURT

                           NORTHERN DISTRICT OF CALIFORNIA


   IN RE: ROUNDUP PRODUCTS                           MDL No. 2741
   LIABILITY LITIGATION
                                                     Case No. 16-md-02741-VC


   This document relates to:                         ORDER DENYING MOTION FOR
                                                     LEAVE TO FILE MOTION FOR
   Williams v. Monsanto Co.,                         RECONSIDERATION
   Case No. 3:20-cv-04758-VC
                                                     Re: Dkt. No. 20523


       The motion for leave to file a motion for reconsideration in the above captioned case is

denied. Regardless of whether Dr. Knopf’s failure to adequately consider Williams’s family

history of solid tumors is sufficient on its own to exclude the opinion, the totality of the flaws in

the opinion clearly renders it excludable.

       IT IS SO ORDERED.

Dated: May 19, 2025
                                               ______________________________________
                                               VINCE CHHABRIA
                                               United States District Judge
